                         Case 24-30589 Document 6 Filed in TXSB on 02/14/24 Page 1 of 5

Information to identify the case:

Debtor 1:
                      Gary Trchalek                                              Social Security number or ITIN:   xxx−xx−3148
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Southern District of Texas                Date case filed for chapter:        7     2/11/24

Case number:24−30589
Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                         10/20


For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.
The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Gary Trchalek

2.        All other names used in the
          last 8 years

3.      Address                                  30823 Martens Rd
                                                 Tomball, TX 77375−2955

4.      Debtor's attorney                        Melissa Ann Botting                                  Contact phone 281−992−7600
                                                 Attorney at Law
        Name and address                         105 S Friendswood Dr                                 Email: botting11@gmail.com
                                                 Suite G
                                                 Friendswood, TX 77546

5.      Bankruptcy trustee                       Ronald J Sommers                                     Contact phone 713−892−4801
                                                 Nathan Sommers Jacobs
        Name and address                         2800 Post Oak Blvd                                   Email: efile@nathansommers.com
                                                 61st Floor
                                                 Houston, TX 77056
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
                        Case 24-30589 Document 6 Filed in TXSB on 02/14/24 Page 2 of 5
Debtor Gary Trchalek                                                                                                                 Case number 24−30589


6. Bankruptcy clerk's office                         United States Bankruptcy Court                                   Hours open:
                                                     PO Box 61010                                                     8:00 am − 5:00 pm Monday
    Documents in this case may be filed at           Houston, TX 77208                                                through Friday
    this address. You may inspect all records
    filed in this case at this office or online at
    https://pacer.uscourts.gov.                                                                                       Contact phone (713) 250−5500

                                                                                                                      Date: 2/12/24

7. Meeting of creditors                              March 20, 2024 at 09:30 AM                                       Location:

    Debtors must attend the meeting to be            The meeting may be continued or adjourned to a                   Telephone Conference, Call
    questioned under oath. In a joint case,                                                                           866−717−2955, passcode
    both spouses must attend. Creditors may          later date. If so, the date will be on the court
    attend, but are not required to do so.           docket.                                                          6974465


8. Presumption of abuse                              The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                         Filing deadline: 5/20/24
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                     You must file a complaint:
                                                     • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                                       subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                                     • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                     You must file a motion:
                                                     • if you assert that the discharge should be denied under § 727(a)(8) or (9).


                                                     Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                     The law permits debtors to keep certain property as exempt.      conclusion of the meeting of creditors
                                                     If you believe that the law does not authorize an exemption
                                                     claimed, you may file an objection.


10. Proof of claim                                   No property appears to be available to pay creditors. Therefore, please do not file a
                                                     proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless       will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                   deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                  The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                     not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                     exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                     https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                     that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                     receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                     page 2
                        Case 24-30589 Document 6 Filed in TXSB on 02/14/24 Page 3 of 5
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 24-30589-jpn
Gary Trchalek                                                                                                          Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 3
Date Rcvd: Feb 12, 2024                                               Form ID: 309A                                                             Total Noticed: 37
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 14, 2024:
Recip ID                 Recipient Name and Address
db                       Gary Trchalek, 30823 Martens Rd, Tomball, TX 77375-2955
12636313                 CNU OnLine Holdings, 200 W Jackson Blvd FL 14, Chicago, IL 60606-6929
12636317                 FIRST NATIONAL BANK, 141 EAST MAIN ST TAZ VISA, Oldham, SD 57051
12636321                 JMG & Ass, 9217 South Redwood A, West Jordan, UT 84084
12636328                 Power Finance TX, 24130 Tomball Pkwy 200, 77375
12636329               + Progressive Debt Relief, 424 E Central 524, Orlando, FL 32801-1923
12636331                 Republic Finance Charge-Off Department/Legal, 7031 COMMERCE CIR 100, Baton Rouge, LA 70809-1996
12636338               + TWC, PO Box 149352, Austin, TX 78714-9352
12636340                 WOODFOREST NATL BANK, 25231 GROGANS MILL RD, Houston, TX 77068

TOTAL: 9

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: botting11@gmail.com
                                                                                        Feb 12 2024 20:07:00      Melissa Ann Botting, Attorney at Law, 105 S
                                                                                                                  Friendswood Dr, Suite G, Friendswood, TX 77546
tr                     + EDI: FRJSOMMERS.COM
                                                                                        Feb 13 2024 01:04:00      Ronald J Sommers, Nathan Sommers Jacobs, 2800
                                                                                                                  Post Oak Blvd, 61st Floor, Houston, TX
                                                                                                                  77056-6131
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Feb 12 2024 20:08:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
12636309               + Email/Text: bk@avant.com
                                                                                        Feb 12 2024 20:08:00      AVANT / WEBBANK, 222 MERCHANDISE
                                                                                                                  MART PLZ 900, Chicago, IL 60654-1105
12636310               + EDI: TSYS2
                                                                                        Feb 13 2024 01:04:00      BARCLAYS BANK DELAWARE, PO Box BOX
                                                                                                                  8803, Wilmington, DE 19899-8803
12636311               + EDI: CAPITALONE.COM
                                                                                        Feb 13 2024 01:04:00      CAPITAL ONE, PO BOX 31293, Salt Lake City,
                                                                                                                  UT 84131-0293
12636312               + EDI: CAPITALONE.COM
                                                                                        Feb 13 2024 01:04:00      CAPITAL ONE, PO Box BOX 31293, Salt Lake
                                                                                                                  City, UT 84131-0293
12636314               + Email/Text: bankruptcy@curo.com
                                                                                        Feb 12 2024 20:08:00      COVINGTON CREDIT, 11083 NORTHWEST
                                                                                                                  FREEWAY, Houston, TX 77092-7311
12636315                  Email/Text: correspondence@credit-control.com
                                                                                        Feb 12 2024 20:08:00      Credit Control, 3300 Rider Trail 500, Earth City,
                                                                                                                  MO 63045
12636316               + Email/Text: Mercury@ebn.phinsolutions.com
                                                                                        Feb 12 2024 20:07:00      FB&T/MERCURY, 700 22ND AVENUE
                                                                                                                  SOUTH, Brookings, SD 57006-2822
12636318               + EDI: AMINFOFP.COM
                                                                                        Feb 13 2024 01:04:00      FIRST PREMIER, 3820 N LOUISE AVE, Sioux
                                                                                                                  Falls, SD 57107-0145
12636319                  Email/Text: BNBLAZE@capitalsvcs.com
                                                                                        Feb 12 2024 20:07:00      FIRST SVGS BK-BLAZE CRED CARD, PO Box
                                                                                                                  BOX 5065, Sioux Falls, SD 57117
                      Case 24-30589 Document 6 Filed in TXSB on 02/14/24 Page 4 of 5
District/off: 0541-4                                              User: ADIuser                                                           Page 2 of 3
Date Rcvd: Feb 12, 2024                                           Form ID: 309A                                                         Total Noticed: 37
12636320                 EDI: JEFFERSONCAP.COM
                                                                                   Feb 13 2024 01:04:00     Jefferson Capital, 16 McLeland, Saint Cloud, MN
                                                                                                            56303
12636322              + Email/Text: PBNCNotifications@peritusservices.com
                                                                                   Feb 12 2024 20:07:00     KOHLS/CAPITAL ONE, PO BOX 3115,
                                                                                                            Milwaukee, WI 53201-3115
12636308              + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Feb 12 2024 20:21:22     LVNV FUNDING LLC, 55 BEATTIE PLACE,
                                                                                                            Greenville, SC 29601-2165
12636323              ^ MEBN
                                                                                   Feb 12 2024 20:05:02     MARINER FINANCE, LLC, 5802 E. VIRGINIA
                                                                                                            BEACH BLVD 121, Norfolk, VA 23502-2483
12636324              + Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                   Feb 12 2024 20:21:26     MERRICK BANK, 10705 S JORDAN
                                                                                                            GATEWAY 200, South Jordan, UT 84095-3977
12636325                 Email/Text: ml-ebn@missionlane.com
                                                                                   Feb 12 2024 20:07:00     MISSION LANE TAB BANK, 101 2ND STREET
                                                                                                            350, San Francisco, CA 94105
12636326                 Email/Text: compliance@monarchrm.com
                                                                                   Feb 12 2024 20:07:00     Monarch Recovery Management, 3260 Tillman
                                                                                                            75, Bensalem, PA 19020
12636327              + Email/Text: pcabkt@phillips-cohen.com
                                                                                   Feb 12 2024 20:08:00     Phillips & Cohen, 1004 Justisson St, Wilmington,
                                                                                                            DE 19801-5148
12636332              + Email/Text: bk@rgsfinancial.com
                                                                                   Feb 12 2024 20:07:00     RGS Financial, 1700 Jay Ell Dr, Richardson, TX
                                                                                                            75081-1600
12636330              + Email/Text: bankruptcy@republicfinance.com
                                                                                   Feb 12 2024 20:08:00     Republic Finance, 6511 Highway 105, Suite A,
                                                                                                            Conroe, TX 77304-5371
12636333              + EDI: PHINELEVATE
                                                                                   Feb 13 2024 01:04:00     Rise Credit, 4150 INTERNATIONAL PLZ 300,
                                                                                                            Fort Worth, TX 76109-4819
12636334                 Email/Text: bankruptcy@sequium.com
                                                                                   Feb 12 2024 20:07:00     Sequium Asset Solution, 1130 Northchase Plaza
                                                                                                            150, Marietta, GA 30067
12636335                 Email/Text: bankruptcy@springoakscapital.com
                                                                                   Feb 12 2024 20:07:00     Spring Oak Capital, PO Box Box 1216,
                                                                                                            Chesapeake, VA 23327
12636336                 Email/Text: austinho@toledocorp.com
                                                                                   Feb 12 2024 20:07:00     Toledo Finance, 225 North Main, Conroe, TX
                                                                                                            77301
12636337              + Email/Text: accountservicing@trueaccord.com
                                                                                   Feb 12 2024 20:07:00     True Accord, 16011 College Blvd 130, Lenexa,
                                                                                                            KS 66219-9877
12636339              ^ MEBN
                                                                                   Feb 12 2024 20:06:28     Viking Client Services, 10050 Crosstown Circle
                                                                                                            300, Eden Prairie, MN 55344-3344

TOTAL: 28


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 14, 2024                                        Signature:           /s/Gustava Winters
                      Case 24-30589 Document 6 Filed in TXSB on 02/14/24 Page 5 of 5
District/off: 0541-4                                              User: ADIuser                                                         Page 3 of 3
Date Rcvd: Feb 12, 2024                                           Form ID: 309A                                                       Total Noticed: 37



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 12, 2024 at the address(es) listed
below:
Name                             Email Address
Melissa Ann Botting
                                 on behalf of Debtor Gary Trchalek botting11@gmail.com

Ronald J Sommers
                                 efile@nathansommers.com RS@trustesolutions.com,RS@trustesolutions.net,pbuenano@nathansommers.com

US Trustee
                                 USTPRegion07.HU.ECF@USDOJ.GOV


TOTAL: 3
